Case 2:14-cr-20652-SFC-MKM ECF No. 53, PageID.186 Filed 11/23/20 Page 1 of 2



                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


UNITED STATES OF AMERICA,
                                                      Case No: 14-cr-20652
                    Plaintiff,
                                                      Hon. Sean F. Cox

JAMES FIZER, JR.,
                                                            Filed Under Seal
               Defendant.
_______________________________/

MOTION AND ORDER TO SEAL THE UNITED STATES’ EXHIBITS TO
ITS RESPONSE AND BRIEF OPPOSING THE DEFENDANT’S MOTION
              FOR COMPASSIONATE RELEASE

      The United States of America, by its undersigned attorneys, respectfully

requests that the United States’ Exhibits to its Response and Brief Opposing the

Defendant’s Motion for Compassionate Release, as well as this motion and order

to seal, be sealed until further order of the Court, because it contains sensitive and

personal information about the defendant.

                                               Respectfully submitted,

                                               MATTHEW SCHNEIDER
                                               United States Attorney

                                               s/Caitlin B. Casey
                                               CAITLIN B. CASEY
                                               Assistant United States Attorney
                                               211 West Fort, Suite 2001
                                               Detroit, Michigan 48226
                                               (313) 226-9769
Date: November 23, 2020                        caitlin.casey@usdoj.gov
Case 2:14-cr-20652-SFC-MKM ECF No. 53, PageID.187 Filed 11/23/20 Page 2 of 2




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


UNITED STATES OF AMERICA,
                                                     Case No: 14-cr-20652
                   Plaintiff,
                                                     Hon. Sean F. Cox

JAMES FIZER, JR.,
                                                           Filed Under Seal
               Defendant.
_______________________________/

                                ORDER TO SEAL

      The government having moved to seal the United States’ Exhibits to its

Response and Brief Opposing the Defendant’s Motion for Compassionate Release,

and the Court being duly advised in the premises;

      IT IS HEREBY ORDERED that leave is Granted for the United States’ to

file its Exhibits to its Response and Brief Opposing the Defendant’s Motion for

Compassionate Release under seal.

      IT IS SO ORDERED.

Dated: November 23, 2020                            s/Sean F. Cox
                                                    Sean F. Cox
                                                    U. S. District Judge
